    Case 2:14-cr-00021-RMP            ECF No. 2040        filed 12/01/16      PageID.11044 Page 1 of 2
 PROB 12C                                                                         Report Date: December 1, 2016
(6/16)

                                       United States District Court

                                                      for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Vonderick Noble                         Case Number: 0980 2:14CR00021-RMP-9
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: April 23, 2015
 Original Offense:        Conspiracy to Possess with Intent to Distribute a Controlled Substance, Oxycodone
                          Hydrochloride, 21 U.S.C. § 841(a)(1)
 Original Sentence:       Prison - 18 months               Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Allyson Edwards                  Date Supervision Commenced: September 16, 2016
 Defense Attorney:       Benjamin Flick                    Date Supervision Expires: September 15, 2019


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 10/07/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            2           Special Condition # 14: The defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                        supervising officer, but no more than 6 tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Mr. Noble violated his conditions of supervision by using marijuana.
                        Mr. Noble provided a urine sample on November 29, 2016, which tested presumptive
                        positive for marijuana. He admitted to the undersigned officer that he consumed marijuana
                        and signed a drug use admission form.
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Prob12C
Re: Noble, Vonderick
December 1, 2016
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     December 1, 2016
                                                                        s/Corey M. McCain
                                                                        Corey M. McCain
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ 9]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ 9]     Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer
                                                                                 
                                                                        Date
